      Case 3:18-cv-02381-B Document 24 Filed 11/16/18             Page 1 of 2 PageID 435


                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 BARRY RUBINSTEIN, et al.,                        §
                                                  §
         Plaintiffs,                              §
                                                  §
 v.                                               §     CIV. ACTIONS NO. 3:18-CV-2377-B
                                                  §                      3:18-CV-2381-B
                                                  §                      3:18-CV-2826-B
                                                  §                      3:18-CV-2828-B
                                                  §                      3:18-CV-2831-B
                                                  §                      3:18-CV-2843-B
                                                  §                      3:18-CV-2846-B
                                                  §                      3:17-CV-3009-B
                                                  §
 GIGI’S CUPCAKES LLC, et al.,                     §
                                                  §
                                                  §
         Defendants.                              §

                                ORDER OF CONSOLIDATION

        The Court presently has seven actions on its docket filed by various franchisees of the

franchisor GiGi’s Cupcakes, LLC. The franchisees in these cases make claims that are substantially

similar to each other’s claims and claims made by franchisees in the consolidated action, GiGi’s

Cupcakes, LLC v. 4 Box, LLC, et al., 3:17-CV-3009-B (N.D. Tex. filed Nov. 11, 2017). The Court

concludes that these cases involve common questions of law and fact and consolidation under

Federal Rule of Civil Procedure 42(a) is appropriate. Accordingly, the Court enters this Order to

CONSOLIDATE the following cases for pretrial proceedings. See Castaneda v. Swift Transp. Corp.,

EP-07-CV-369-DB, 2009 WL 10669207, at *2 (W.D. Tex. July 16, 2009) (internal citations and

quotations omitted) (“Thus, Rule 42(a) contemplates consolidation for purposes of particular

segments of the litigation, such as pretrial proceedings.”).

                                                 -1-
   Case 3:18-cv-02381-B Document 24 Filed 11/16/18                    Page 2 of 2 PageID 436


       1.      3:17-cv-3009-B (existing consolidated action)
       2.      3:18-cv-2377-B
       3.      3:18-cv-2381-B
       4.      3:18-cv-2826-B
       5.      3:18-cv-2828-B
       6.      3:18-cv-2831-B
       7.      3:18-cv-2843-B
       8.      3:18-cv-2846-B

       All future pretrial filings shall be filed in 3:17-cv-3009-B. The Court DIRECTS the Clerk

to administratively close all other cases listed above. United States Magistrate Judge Renee H.

Toliver, currently assigned to 3:17-cv-3009-B, will continue as the Magistrate Judge in this

consolidated action.

       The Court also DIRECTS the Clerk to align the Plaintiffs in the individual actions (Nos. 2

through 8 above) as Third-Party Plaintiffs in consolidated action 3:17-cv-3009-B. Defendants in the

individual actions (Nos. 2 through 8) shall be aligned as Third-Party Defendants in the consolidated

action 3:17-CV-3009-B. If the parties wish to alter their alignments, they shall file a motion with the

Court supported by reasons for proposed realignment.



       SO ORDERED.

       SIGNED: November 16, 2018.



                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




                                                 -2-
